    Case 2:16-cv-00184-PLM-TPG ECF No. 7 filed 09/12/16 PageID.26 Page 1 of 1
 


                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

DAVID SALEWSKE AND                  )
SHARI SALEWSKE,                     )
            Plaintiffs,             )
                                    )                  No. 2:16-cv-184
-v-                                 )
                                    )                  HONORABLE PAUL L. MALONEY
TROTT & TROTT, P.C., A/K/A TROTT    )
LAW, P.C.,                          )
            Defendant.              )
____________________________________)

    ORDER TRANSFERRING ACTION TO THE EASTERN DISTRICT OF MICHIGAN

       The parties believe this action should be transferred to the Eastern District of Michigan and

have submitted a stipulation and proposed order to that effect. (ECF No. 6 at Page ID.23.)

       The Court agrees with the parties’ conclusion that “[p]ursuant to 28 U.S.C. §1391(b), venue

is proper in the Eastern District of Michigan, Northern Division.” (Id.)

       “The district court of a district in which is filed a case laying venue in the wrong division

or district shall dismiss, or if it be in the interest of justice, transfer such case to any district or

division in which it could have been brought.” 28 U.S.C. § 1406(a). “This language of § 1406(a)

is amply broad enough to authorize the transfer of cases, however wrong the plaintiff may have

been in filing his case as to venue . . . .” Goldlawr, Inc. v. Heiman, 369 U.S. 463, 466 (1962).

       Accordingly, in its discretion, the Court hereby TRANSFERS this action to the United

States District Court for the Eastern District of Michigan. (ECF No. 6.)

       IT IS SO ORDERED.

       Date: September 12, 2016                         /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge




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